Case 5:21-cv-00616-JWH-SP Document 189-2 Filed 09/21/22 Page 1 of 27 Page ID
                                 #:3568
                                                                                     WAGNER HICKS PLLC
                                                                                     831 E. Morehead Street, Suite 860
                                                                                     Charlotte, NC 28202
                                                                                     (704) 705-7787



                                                                                     DEREK M. BAST
                                                                                     Attorney at Law
                                                                                     (704) 705-8311
                                                                                     derek.bast@wagnerhicks.law

VIA PERSONAL SERVICE

July 28, 2022

Rite Care Hospice, Inc.
c/o Vartan Akopyan, registered agent
14144 Ventura Blvd, Suite 260
Sherman Oaks, CA 91423


        Re:     Goldwater Bank, N.A., v. Elizarov, et al. No. 5:21-cv-00616 (C.D. Cal.)
                Service of Subpoena Duces Tecum and Stipulated Protective Order

To Whom It May Concern:

         Enclosed please find a Subpoena Duces Tecum in the above-referenced lawsuit. Additionally,
please find enclosed a copy of a Stipulated Protective Order entered by the Court in this matter on June 8,
2022, which permits the designation of subpoenaed materials as “Confidential” upon production.

        To facilitate your response by August 18, 2022, you may produce documents to Goldwater Bank,
N.A.’s counsel by email, using the contact information below. If producing documents by this date is
unfeasible, please contact counsel to discuss an alternative production date.

        Derek M. Bast
        Wagner Hicks PLLC
        T: (704) 705-8311
        derek.bast@wagnerhicks.law


        Please do not hesitate to contact me with any questions or concerns.

                                                         Sincerely,



                                                         Derek M. Bast
                                                         Attorney

Enclosures
         Case 5:21-cv-00616-JWH-SP Document 189-2 Filed 09/21/22 Page 2 of 27 Page ID
                                          #:3569
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
                     Goldwater Bank, N.A.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 5:21-cv-00616-JWH-SP
       Artur Elizarov, Unison Agreement Corp., Scott                          )
       Howlett, Bank of the West, and Ilya Alekseyeff                         )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                        Rite Care Hospice, Inc. c/o Vartan Akopyan, registered agent
                                           14144 Ventura Boulevard, Suite 260, Sherman Oaks, CA 91423
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See Attachment 1


  Place: Regus Business Center                                                          Date and Time:
           777 S. Alameda, 2nd Floor                                                                         08/18/2022 4:00 pm
           Los Angeles , CA 90021

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/28/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Derek M. Bast
                                            Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff Goldwater Bank, N.A.                                           , who issues or requests this subpoena, are:
Derek Bast, 831 E Morehead St, Ste 860, Charlotte, NC 28202; derek.bast@wagnerhicks.law; (704) 705-8311

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 5:21-cv-00616-JWH-SP Document 189-2 Filed 09/21/22 Page 3 of 27 Page ID
                                         #:3570
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:21-cv-00616-JWH-SP

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
         Case 5:21-cv-00616-JWH-SP Document 189-2 Filed 09/21/22 Page 4 of 27 Page ID
                                          #:3571
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                 #:3572



                                     ATTACHMENT 1

                               LIST OF ITEMS FOR PRODUCTION

       Pursuant to the foregoing Subpoena, please produce the following documents (please refer

to the instructions and definitions below for information concerning how to respond to the

following items):

       1.      Any and all documents, records, or communications reflecting the beginning and

ending of Elizarov’s employment with You.

       2.      Any and all documents, records, or communications related to the status of Your

employment of Artur Elizarov during the Relevant Period.

       3.      Any and all documents and records pertaining to any and all compensation provided

to Artur Elizarov, including but not limited to annual salary records and employee bonus payments,

during the Relevant Period.

                                 INSTRUCTIONS & DEFINITIONS

       The foregoing Subpoena requires that you produce the above-listed items for inspection.

You may satisfy such requirement either by (1) producing the original of any responsible item for

inspection and copying or (2) producing a true, accurate, and complete copy of the original

via electronic mail to the requesting attorney (derek.bast@wagnerhicks.law). To comply with

the Subpoena, such production must occur by, on, or before the date and time indicated on the

foregoing Subpoena.

       In preparing your response, please note that the words in the List of Items for Production

and in these Instructions and Definitions have the meaning ordinarily attributed to them in common

usage, except that the following words have the following meanings:




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        1.     “Relevant Period” refers to January 1, 2019 through and including September 31,

2019.

        2.     “Document” includes any and all records, or written, readable, graphic, or visual

materials, or any kind or character, and shall include, without limitation, correspondence,

memoranda, notes, emails, files, bills, invoices, electronically stored information, and any other

data compilation stored in any medium from which information can be obtained.

        3.     “Communication” or “communications” includes, without limitation, all

statements, representations, expressions of fact or opinion, correspondence, reports, memoranda,

emails, text messages, and other transmissions of information, made in any manner whatsoever.

        4.     “You” or “Your” means Rite Care Hospice, Inc., along with its affiliates and

subsidiaries, and anyone working on Rite Care Hospice, Inc.’s behalf.




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                                       #:3574


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 1   Derek M. Bast (Pro Hac Vice)
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 2
     831 East Morehead Street, Suite 860
 3
     Charlotte, North Carolina 28202
     Tel: (704) 705-7538
 4
     Fax: (704) 705-7787
 5   John Forest Hilbert, Esq. (SBN 105827)
     Joseph A. LeVota, Esq. (SBN 226760)
 6   HILBERT & SATTERLY LLP
     409 Camino del Rio S. #104
 7   San Diego, California 92108
     Telephone: (619) 795-0300
 8   Facsimile: (619) 501-6855
 9   Counsel for Plaintiff
     GOLDWATER BANK, N.A.
10

11                          UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13

14    GOLDWATER BANK, N.A.,                       Case No. 5:21-cv-00616-JWH-SPx
15                       Plaintiff,               STIPULATED PROTECTIVE
                                                  ORDER
16          v.
                                                  Action filed: 4/6/2021
17    ARTUR ELIZAROV, ET AL.                      Trial: 2/27/2023
18                       Defendants.              [NOTE CHANGES MADE BY
                                                  COURT TO ¶¶ 6.2, 6.3, 12.3]
19

20
     1.    (A) PURPOSES AND LIMITATIONS
21

22         Discovery in this action is likely to involve production of confidential, proprietary,
23
     or private information for which special protection from public disclosure and from use
24

25
     for any purpose other than prosecuting this litigation may be warranted. Accordingly,
26
     the parties hereby stipulate to and petition the Court to enter the following Stipulated
27
     Protective Order. The parties acknowledge that this Order does not confer blanket
28



                                       PROTECTIVE ORDER - 1
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 1
     protections on all disclosures or responses to discovery and that the protection it affords
 2   from public disclosure and use extends only to the limited information or items that are
 3
     entitled to confidential treatment under the applicable legal principles. The parties further
 4

 5   acknowledge, as set forth in Section 12.3, below, that this Stipulated Protective Order
 6
     does not entitle them to file confidential information under seal; Civil Local Rule 79-5
 7

 8   sets forth the procedures that must be followed and the standards that will be applied
 9
     when a party seeks permission from the court to file material under seal.
10
           (B) GOOD CAUSE STATEMENT
11

12         This action is likely to involve valuable commercial, financial, technical and/or
13
     proprietary information for which special protection from public disclosure and from use
14

15   for any purpose other than prosecution of this action is warranted. Such confidential and
16
     proprietary materials and information consist of, among other things, confidential
17

18
     business or financial information, information regarding confidential business practices,

19   or other confidential research, development, or commercial information (including
20
     information implicating privacy rights of third parties), information otherwise generally
21

22   unavailable to the public, or which may be privileged or otherwise protected from
23
     disclosure under state or federal statutes, court rules, case decisions, or common law.
24

25   Notwithstanding the foregoing, the parties presume that documents evidencing the real
26
     estate transaction at the center of this litigation—the sale of real property located at 291
27
     W. Overlook Road, Palm Springs, California 92264, from Defendant Artur Elizarov to
28



                                       PROTECTIVE ORDER - 2
 Case
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 1
     Defendant Scott Howlett—shall generally not be confidential or require special
 2   protection from public disclosure.
 3
           Accordingly, to expedite the flow of information, to facilitate the prompt resolution
 4

 5   of disputes over confidentiality of discovery materials, to adequately protect information
 6
     the parties are entitled to keep confidential, to ensure that the parties are permitted
 7

 8   reasonable necessary uses of such material in preparation for and in the conduct of trial,
 9
     to address their handling at the end of the litigation, and serve the ends of justice, a
10
     protective order for such information is justified in this matter. It is the intent of the
11

12   parties that information will not be designated as confidential for tactical reasons and
13
     that nothing be so designated without a good faith belief that it has been maintained in a
14

15   confidential, non-public manner, and there is good cause why it should not be part of the
16
     public record of this case.
17

18
     2.    DEFINITIONS

19         2.1    Action: this federal lawsuit titled GOLDWATER BANK, N.A. vs. ARTUR
20
     ELIZAROV, ET AL. (Case No. 5:21-cv-00616-JWH-SPx) and pending in the United
21

22   States District Court for the Central District of California.
23
           2.2    Challenging Party: a Party or Non-Party that challenges the designation of
24

25   information or items under this Order.
26
           2.3    “CONFIDENTIAL” Information or Items: information (regardless of how
27
     it is generated, stored, or maintained) or tangible things that qualify for protection under
28



                                       PROTECTIVE ORDER - 3
 Case
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 1
     Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
 2   Statement.
 3
           2.4    Disclosure or Discovery Material: all items or information, regardless of
 4

 5   the medium or manner in which it is generated, stored, or maintained (including, among
 6
     other things, testimony, transcripts, and tangible things), that are produced or generated
 7

 8   in disclosures or responses to discovery in this matter.
 9
           2.5    Designating Party: a Party or Non-Party that designates information or
10
     items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”
11

12         2.6    Disclosure or Discovery Material: all items or information, regardless of the
13
     medium or manner in which it is generated, stored, or maintained (including, among other
14

15   things, testimony, transcripts, and tangible things), that are produced or generated in
16
     disclosures or responses to discovery in this matter.
17

18
           2.7    Expert: a person with specialized knowledge or experience in a matter

19   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
20
     expert witness or as a consultant in this action.
21

22         2.8    House Counsel: attorneys who are employees of a party to this Action.
23
     House Counsel does not include Outside Counsel of Record or any other outside counsel.
24

25         2.9    Non-Party: any natural person, partnership, corporation, association, or
26
     other legal entity not named as a Party to this action.
27

28



                                       PROTECTIVE ORDER - 4
 Case
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 1
           2.10 Outside Counsel of Record: attorneys who are not employees of a Party to
 2   this Action but are retained to represent or advise a Party to this Action and have appeared
 3
     in this Action on behalf of that Party or are affiliated with a law firm which has appeared
 4

 5   on behalf of that Party (and includes support staff).
 6
           2.11 Party: any party to this action, including all of its officers, directors,
 7

 8   employees, consultants, retained experts, and Outside Counsel of Record (and their
 9
     support staffs).
10
           2.12 Producing Party:          a Party or Non-Party that produces Disclosure or
11

12   Discovery Material in this action.
13
           2.13 Professional Vendors: persons or entities that provide litigation support
14

15   services   (e.g.,   photocopying,     videotaping,   translating,   preparing   exhibits   or
16
     demonstrations, and organizing, storing, or retrieving data in any form or medium) and
17

18
     their employees and subcontractors.

19         2.14 Protected Material: any Disclosure or Discovery Material that is designated
20
     as “CONFIDENTIAL.”
21

22         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
23
     from a Producing Party.
24

25   3.    SCOPE
26
           The protections conferred by this Stipulation and Order cover not only Protected
27
     Material (as defined above), but also (1) any information copied or extracted from
28



                                      PROTECTIVE ORDER - 5
 Case
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 1
     Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
 2   Material; and (3) any testimony, conversations, or presentations by Parties or their
 3
     Counsel that might reveal Protected Material. However, the protections conferred by this
 4

 5   Stipulation and Order do not cover the following information: (a) any information that is
 6
     in the public domain at the time of disclosure to a Receiving Party or becomes part of the
 7

 8   public domain after its disclosure to a Receiving Party as a result of publication not
 9
     involving a violation of this Order, including becoming part of the public record through
10
     trial or otherwise; and (b) any information known to the Receiving Party prior to the
11

12   disclosure or obtained by the Receiving Party after the disclosure from a source who
13
     obtained the information lawfully and under no obligation of confidentiality to the
14

15   Designating Party.
16
              Any use of Protected Material at trial shall be governed by a separate agreement or
17

18
     order.

19   4.       DURATION
20
              Even after final disposition of this litigation, the confidentiality obligations
21

22   imposed by this Order shall remain in effect until a Designating Party agrees otherwise
23
     in writing or a court order otherwise directs. Final disposition shall be deemed to be the
24

25   later of (1) dismissal of all claims and defenses in this action, with or without prejudice;
26
     and (2) final judgment herein after the completion and exhaustion of all appeals,
27

28



                                        PROTECTIVE ORDER - 6
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 1
     rehearings, remands, trials, or reviews of this action, including the time limits for filing
 2   any motions or applications for extension of time pursuant to applicable law
 3
     5.    DESIGNATING PROTECTED MATERIAL
 4

 5         5.1    Exercise of Restraint and Care in Designating Material for Protection. Each
 6
     Party or Non-Party that designates information or items for protection under this Order
 7

 8   must take care to limit any such designation to specific material that qualifies under the
 9
     appropriate standards. The Designating Party must designate for protection only those
10
     parts of material, documents, items, or oral or written communications that qualify – so
11

12   that other portions of the material, documents, items, or communications for which
13
     protection is not warranted are not swept unjustifiably within the ambit of this Order.
14

15         Mass, indiscriminate, or routinized designations are prohibited. Designations that
16
     are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
17

18
     to unnecessarily encumber or retard the case development process or to impose

19   unnecessary expenses and burdens on other parties) expose the Designating Party to
20
     sanctions.
21

22         If it comes to a Designating Party’s attention that information or items that it
23
     designated for protection do not qualify for protection, that Designating Party must
24

25   promptly notify all other Parties that it is withdrawing the mistaken designation.
26
           5.2    Manner and Timing of Designations. Except as otherwise provided in this
27
     Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
28



                                      PROTECTIVE ORDER - 7
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 1
     ordered, Disclosure or Discovery Material that qualifies for protection under this Order
 2   must be clearly so designated before the material is disclosed or produced.
 3
           Designation in conformity with this Order requires:
 4

 5                (a)    For information in documentary form (e.g., paper or electronic
 6
     documents, but excluding transcripts of depositions or other pretrial or trial proceedings),
 7

 8   that the Producing Party affix at a minimum, the legend “CONFIDENTIAL” to each page
 9
     that contains protected material. If only a portion or portions of the material on a page
10
     qualifies for protection, the Producing Party also must clearly identify the protected
11

12   portion(s) (e.g., by making appropriate markings in the margins).
13
           A Party or Non-Party that makes original documents or materials available for
14

15   inspection need not designate them for protection until after the inspecting Party has
16
     indicated which material it would like copied and produced. During the inspection and
17

18
     before the designation, all of the material made available for inspection shall be deemed

19   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
20
     copied and produced, the Producing Party must determine which documents, or portions
21

22   thereof, qualify for protection under this Order. Then, before producing the specified
23
     documents, the Producing Party must affix the “CONFIDENTIAL” legend to each page
24

25   that contains Protected Material. If only a portion or portions of the material on a page
26
     qualifies for protection, the Producing Party also must clearly identify the protected
27
     portion(s) (e.g., by making appropriate markings in the margins).
28



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 1
                  (b)   for testimony given in deposition or in other pretrial or trial
 2   proceedings, that the Designating Party identify on the record, before the close of the
 3
     deposition, hearing, or other proceeding, all protected testimony.
 4

 5                (c)   for information produced in some form other than documentary and
 6
     for any other tangible items, that the Producing Party affix in a prominent place on the
 7

 8   exterior of the container or containers in which the information or item is stored the
 9
     legend “CONFIDENTIAL.” If only a portion or portions of the information or item
10
     warrant protection, the Producing Party, to the extent practicable, shall identify the
11

12   protected portion(s).
13
           5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
14

15   to designate qualified information or items does not, standing alone, waive the
16
     Designating Party’s right to secure protection under this Order for such material. Upon
17

18
     timely correction of a designation, the Receiving Party must make reasonable efforts to

19   assure that the material is treated in accordance with the provisions of this Order.
20
     6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
21

22         6.1    Timing of Challenges. Any Party or Non-Party may challenge a designation
23
     of confidentiality at any time. Unless a prompt challenge to a Designating Party’s
24

25   confidentiality designation is necessary to avoid foreseeable, substantial unfairness,
26
     unnecessary economic burdens, or a significant disruption or delay of the litigation, a
27

28



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 1
     Party does not waive its right to challenge a confidentiality designation by electing not to
 2   mount a challenge promptly after the original designation is disclosed.
 3
           6.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution
 4

 5   process under Local Rule 37 by providing written notice of each designation it is
 6
     challenging and describing the basis for each challenge. To avoid ambiguity as to
 7

 8   whether a challenge has been made, the written notice must recite that the challenge to
 9
     confidentiality is being made in accordance with this specific paragraph of the Protective
10
     Order. The parties shall attempt to resolve each challenge in good faith and must begin
11

12   the process by conferring directly (in voice-to-voice dialogue; other forms of
13
     communication are not sufficient) within 14 days of the date of service of notice. In
14

15   conferring, the Challenging Party must explain the basis for its belief that the
16
     confidentiality designation was not proper and must give the Designating Party an
17

18
     opportunity to review the designated material, to reconsider the circumstances, and, if no

19   change in designation is offered, to explain the basis for the chosen designation. A
20
     Challenging Party may proceed to the next stage of the challenge process only if it has
21

22   engaged in this meet and confer process first or establishes that the Designating Party is
23
     unwilling to participate in the meet and confer process in a timely manner.
24

25         6.3    Judicial Intervention. If the Parties cannot resolve a challenge without court
26
     intervention, the Designating Party shall file and serve a motion to retain confidentiality
27
     under Civil Local Rule 37 (and in compliance with Civil Local Rule 79-5, if applicable)
28



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 1
     within 21 days of the initial notice of challenge or within 14 days of the parties agreeing
 2   that the meet and confer process will not resolve their dispute, whichever is earlier. Each
 3
     such motion must be accompanied by a competent declaration affirming that the movant
 4

 5   has complied with the meet and confer requirements imposed in the preceding paragraph.
 6
     Failure by the Designating Party to make such a motion including the required declaration
 7

 8   within 21 days (or 14 days, if applicable) shall automatically waive the confidentiality
 9
     designation for each challenged designation. In addition, the Challenging Party may file
10
     a motion challenging a confidentiality designation at any time if there is good cause for
11

12   doing so, including a challenge to the designation of a deposition transcript or any
13
     portions thereof. Any motion brought pursuant to this provision must be accompanied by
14

15   a competent declaration affirming that the movant has complied with the meet and confer
16
     requirements imposed by the preceding paragraph.
17

18
           6.4    Burden of Persuasion. The burden of persuasion in any such challenge

19   proceeding shall be on the Designating Party. Frivolous challenges, and those made for
20
     an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
21

22   other parties) may expose the Challenging Party to sanctions. Unless the Designating
23
     Party has waived the confidentiality designation by failing to file a motion to retain
24

25   confidentiality as described above, all parties shall continue to afford the material in
26
     question the level of protection to which it is entitled under the Producing Party’s
27
     designation until the court rules on the challenge.
28



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 1
     7.    ACCESS TO AND USE OF PROTECTED MATERIAL
 2         7.1    Basic Principles. A Receiving Party may use Protected Material that is
 3
     disclosed or produced by another Party or by a Non-Party in connection with this case
 4

 5   only for prosecuting, defending, or attempting to settle this Action. Such Protected
 6
     Material may be disclosed only to the categories of persons and under the conditions
 7

 8   described in this Order. When the litigation has been terminated, a Receiving Party must
 9
     comply with the provisions of section 13 below (FINAL DISPOSITION).
10
           Protected Material must be stored and maintained by a Receiving Party at a
11

12   location and in a secure manner that ensures that access is limited to the persons
13
     authorized under this Order.
14

15         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
16
     ordered by the court or permitted in writing by the Designating Party, a Receiving Party
17

18
     may disclose any information or item designated “CONFIDENTIAL” only to:

19                (a)   the Receiving Party’s Outside Counsel of Record in this action, as
20
     well as employees of said Outside Counsel of Record to whom it is reasonably necessary
21

22   to disclose the information for this Action;
23
                  (b)   the officers, directors, and employees (including House Counsel) of
24

25   the Receiving Party to whom disclosure is reasonably necessary for this litigation and
26
     who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
27

28



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 1
                    (c)   Experts (as defined in this Order) of the Receiving Party to whom
 2   disclosure is reasonably necessary for this litigation and who have signed the
 3
     “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 4

 5                  (d)   the court and its personnel;
 6
                    (e)   court reporters and their staff, professional jury or trial consultants,
 7

 8   mock jurors, and Professional Vendors to whom disclosure is reasonably necessary for
 9
     this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”
10
     (Exhibit A);
11

12                  (f)   the author or recipient of a document containing the information or a
13
     custodian or other person who otherwise possessed or knew the information;
14

15                  (g)   during their depositions, witnesses and attorneys for witnesses, in the
16
     Action to whom disclosure is reasonably necessary provided and who have signed the
17

18
     “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed

19   by the Designating Party or ordered by the court. Pages of transcribed deposition
20
     testimony or exhibits to depositions that reveal Protected Material must be separately
21

22   bound by the court reporter and may not be disclosed to anyone except as permitted under
23
     this Stipulated Protective Order; and
24

25                  (h)   any mediator or settlement officer, and their supporting personnel,
26
     mutually agreed upon by any of the Parties engaged in settlement discussions.
27
     8.    PROTECTED MATERIAL SUBPOENAED OR ORDER PRODUCED IN
28
           OTHER LITIGATION

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 1
           If a Party is served with a subpoena or a court order issued in other litigation that
 2

 3   compels disclosure of any information or items designated in this action as
 4
     “CONFIDENTIAL,” that Party must:
 5

 6
           (a)   promptly notify in writing the Designating Party. Such notification shall

 7   include a copy of the subpoena or court order;
 8
           (b)   promptly notify in writing the party who caused the subpoena or order to
 9

10   issue in the other litigation that some or all of the material covered by the subpoena or
11
     order is subject to this Protective Order. Such notification shall include a copy of this
12

13   Stipulated Protective Order; and
14
           (c)   cooperate with respect to all reasonable procedures sought to be pursued by
15
     the Designating Party whose Protected Material may be affected.
16

17         If the Designating Party timely seeks a protective order, the Party served with the
18
     subpoena or court order shall not produce any information designated in this action as
19

20   “CONFIDENTIAL” before a determination by the court from which the subpoena or
21
     order issued, unless the Party has obtained the Designating Party’s permission. The
22

23
     Designating Party shall bear the burden and expense of seeking protection in that court

24   of its confidential material – and nothing in these provisions should be construed as
25
     authorizing or encouraging a Receiving Party in this action to disobey a lawful directive
26

27   from another court.
28



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 1
     9.       A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
              IN THIS LITIGATION
 2

 3            (a)   The terms of this Order are applicable to information produced by a Non-
 4
     Party in this action and designated as “CONFIDENTIAL.” Such information produced
 5

 6
     by Non-Parties in connection with this litigation is protected by the remedies and relief

 7   provided by this Order. Nothing in these provisions should be construed as prohibiting a
 8
     Non-Party from seeking additional protections.
 9

10            (b)   In the event that a Party is required, by a valid discovery request, to produce
11
     a Non-Party’s confidential information in its possession, and the Party is subject to an
12

13   agreement with the Non-Party not to produce the Non-Party’s confidential information,
14
     then the Party shall:
15
                    (1)   promptly notify in writing the Requesting Party and the Non-Party
16

17   that some or all of the information requested is subject to a confidentiality agreement with
18
     a Non-Party;
19

20                  (2)   promptly provide the Non-Party with a copy of the Stipulated
21
     Protective Order in this litigation, the relevant discovery request(s), and a reasonably
22

23
     specific description of the information requested; and

24                  (3)   make the information requested available for inspection by the Non-
25
     Party.
26

27            (c)   If the Non-Party fails to object or seek a protective order from this court
28
     within 14 days of receiving the notice and accompanying information, the Receiving

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 1
     Party may produce the Non-Party’s confidential information responsive to the discovery
 2   request. If the Non-Party timely seeks a protective order, the Receiving Party shall not
 3
     produce any information in its possession or control that is subject to the confidentiality
 4

 5   agreement with the Non-Party before a determination by the court. Absent a court order
 6
     to the contrary, the Non-Party shall bear the burden and expense of seeking protection in
 7

 8   this court of its Protected Material.
 9
     10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
10
           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
11

12   Protected Material to any person or in any circumstance not authorized under this
13
     Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
14

15   the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
16
     all unauthorized copies of the Protected Material, (c) inform the person or persons to
17

18
     whom unauthorized disclosures were made of all the terms of this Order, and (d) request

19   such person or persons to execute the “Acknowledgment and Agreement to Be Bound”
20
     that is attached hereto as Exhibit A.
21

22   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
23
           PROTECTED MATERIAL

24         When a Producing Party gives notice to Receiving Parties that certain inadvertently
25
     produced material is subject to a claim of privilege or other protection, the obligations of
26

27   the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
28
     This provision is not intended to modify whatever procedure may be established in an e-

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 1
     discovery order that provides for production without prior privilege review. Pursuant to
 2   Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the
 3
     effect of disclosure of a communication or information covered by the attorney-client
 4

 5   privilege or work product protection, the parties may incorporate their agreement in the
 6
     stipulated protective order submitted to the court.
 7

 8   12.   MISCELLANEOUS
 9
           12.1 Right to Further Relief. Nothing in this Order abridges the right of any
10
     person to seek its modification by the court in the future.
11

12         12.2 Right to Assert Other Objections.          By stipulating to the entry of this
13
     Protective Order no Party waives any right it otherwise would have to object to disclosing
14

15   or producing any information or item on any ground not addressed in this Stipulated
16
     Protective Order. Similarly, no Party waives any right to object on any ground to use in
17

18
     evidence of any of the material covered by this Protective Order.

19         12.3 Filing Protected Material. Without written permission from the Designating
20
     Party or a court order secured after appropriate notice to all interested persons, a Party
21

22   may not file in the public record in this action any Protected Material. A Party that seeks
23
     to file under seal any Protected Material must comply with Civil Local Rule 79-5.
24

25   Protected Material may only be filed under seal pursuant to a court order authorizing the
26
     sealing of the specific Protected Material at issue. Pursuant to Civil Local Rule 79-5, a
27
     sealing order will issue only upon a request establishing that the Protected Material at
28



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 1
     issue is privileged, protectable as a trade secret, or otherwise entitled to protection under
 2   the law. If a Receiving Party’s request to file Protected Material under seal pursuant to
 3
     Civil Local Rule 79-5 is denied by the court, then the Receiving Party may file the
 4

 5   information in the public record unless otherwise instructed by the court.
 6
     13.   FINAL DISPOSITION
 7

 8         Within 60 days after the final disposition of this Action, as defined in paragraph 4,
 9
     each Receiving Party must return all Protected Material to the Producing Party or destroy
10
     such material. As used in this subdivision, “all Protected Material” includes all copies,
11

12   abstracts, compilations, summaries, and any other format reproducing or capturing any
13
     of the Protected Material. Whether the Protected Material is returned or destroyed, the
14

15   Receiving Party must submit a written certification to the Producing Party (and, if not the
16
     same person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
17

18
     (by category, where appropriate) all the Protected Material that was returned or destroyed

19   and (2) affirms that the Receiving Party has not retained any copies, abstracts,
20
     compilations, summaries or any other format reproducing or capturing any of the
21

22   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
23
     archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
24

25   legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
26
     work product, and consultant and expert work product, even if such materials contain
27

28



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 1
     Protected Material. Any such archival copies that contain or constitute Protected Material
 2   remain subject to this Protective Order as set forth in Section 4 (DURATION).
 3
     14.   VIOLATION
 4

 5         Any violation of this Order may be punished by any and all appropriate measures
 6
     including, without limitation, contempt proceedings and/or monetary sanctions.
 7

 8   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 9
     DATED: May 27, 2022
10
                                            HILBERT & SATTERLY LLP
11
                                            By: /s/ John Hilbert
12                                              John Forest Hilbert, Esq.
                                                Joseph A. LeVota, Esq.
13

14
                                                  AND

15                                         WAGNER HICKS PLLC
16                                         By: /s/ Derek M. Bast
                                               Sean C. Wagner, Esq.
17
                                               Derek M. Bast, Esq.
18
                                           ATTORNEYS FOR PLAINTIFF GOLDWATER BANK N.A.
19

20                                         HALL GRIFFIN LLP
21
                                           By:    /s/ Ryan Thomason
22
                                                  Howard D. Hall
23                                                Ryan Thomason
24
                                           ATTORNEYS FOR DEFENDANTS SCOTT HOWLETT          AND
25                                         BANK OF THE WEST
26
                                           LOIA, INC.
27                                         By: /s/ Ilya Alekseyeff
28                                               Ilya Alekseyeff

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 1
                                        ATTORNEY FOR       ARTUR    ELIZAROV   AND   ILYA
 2                                      ALEKSEYEFF
 3
                                        ORSUS GATE, LLP
 4

 5                                      By:    /s/ Nabil Bisharat
 6
                                               Nabil Bisharat

 7                                      ATTORNEY   FOR   DEFENDANT UNISON AGREEMENT
 8                                      CORP.
 9

10
     PURSUANT TO STIPULATION, AND FOR GOOD CAUSE SHOWN, IT IS SO
11
     ORDERED.
12

13

14
     DATED: June 8, 2022
15                                      HON. SHERI PYM
                                        UNITED STATES MAGISTRATE JUDGE
16

17

18

19

20

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22

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                                      EXHIBIT A
 1
                       ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 2

 3           I,                                     [print or type full name], of
 4
             [print or type full address], declare under penalty of perjury that I have read in its entirety and
 5
     understand the Stipulated Protective Order that was issue by the United States District Court for the
 6

 7
     Central District of California on [DATE] in the case of                                        [insert

 8   formal name of the case and the number and initials assigned to it by the Court]. I agree to comply
 9   with and to be bound by all the terms of this Stipulated Protective Order and I understand and
10
     acknowledge that failure to so comply could expose me to sanctions and punishment in the nature of
11
     contempt. I solemnly promise that I will not disclose in any manner any information or item that is
12

13   subject to this Stipulated Protective Order to any person or entity except in strict compliance with the

14   provisions of this Order.
15
             I further agree to submit to the jurisdiction of the United States District Court for the Central
16
     District of California for the purpose of enforcing the terms of this Stipulated Protective Order, even if
17
     such enforcement proceedings occur after termination of this action. I hereby appoint
18

19                           [print or type full name] of                                   [print or type full

20   address and telephone number] as my California agent for service of process in connection with this
21
     action or any proceedings related to enforcement of this Stipulated Protective Order.
22
     Date:
23

24
     City and State where sworn and signed:

25   Printed Name:
26   Signature:
27

28



                                           PROTECTIVE ORDER - 21
